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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
          Plaintiff,

v.                                              Case No. 15-10152-1-JTM

FELIZARDO URIAS-AVILEZ,
          Defendant.

                           MEMORANDUM AND ORDER

      This matter is before the court on defendant Felizardo Urias-Avilez’s Motion for

Compassionate Release pursuant to 18 U.S.C. section 3582(c)(1)(A)(i) (Dkt. 285).

Defendant contends that his diagnoses for diabetes, hypertension, and hyperlipidemia

put him at increased risk of life-threatening complications or death should he be infected

with Covid-19 while in custody, and he asks the court to reduce his sentence to time

served or order home confinement. (Dkt. 285, p. 2-3). The United States acknowledges

defendant’s diagnoses and treatment for these conditions, but contends that defendant

cannot meet his burden to show that the balance of factors the court is required to

consider favor compassionate release. (Dkt. 287, p. 14-15).

      Defendant pled guilty on July 11, 2016 to a charge of Conspiracy to Distribute

Methamphetamine (Dkt. 114). In his Petition to Enter Plea of Guilty, defendant admitted

to possessing 50 grams or more of methamphetamine with an intent to distribute. (Dkt.

113, p. 1). A Presentence Investigation Report (PSR) prepared at the court’s direction

showed that defendant worked with a number of other individuals to obtain and

distribute methamphetamine throughout the Wichita, Kansas area. (PSR, Dkt. 159, at p.
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7-8). Those transactions included an instance where defendant ordered two pounds of

methamphetamine from an individual in Phoenix, Arizona, which was shipped to

Wichita by Federal Express and shown to contain 896.3 grams of pure methamphetamine

after interception by law enforcement. (Id. at 7-8). Defendant also arranged a sale of two

pounds of methamphetamine to a confidential informant. (Id. at 8). He is a citizen of

Mexico who is in the United States illegally and has an Immigration and Customs

Enforcement (ICE) detainer on his record rendering him subject to deportation at the end

of his prison sentence. (Id. at 19-20). The PSR shows three prior contacts with ICE due to

illegal reentry. (Id. at 19).

       The United States admits that defendant has satisfied the prerequisite

administrative exhaustion requirement of 18 U.S.C. section 3582(c)(1)(A). (Dkt. 287, p. 7);

18 U.S.C. § 3582(c). The remaining issue for the court’s consideration is whether

defendant has shown that, after considering the factors set forth in 18 U.S.C. § 3553(a),

extraordinary and compelling reasons warrant a reduction to a time-served sentence and

that the reduction is consistent with the Sentencing Commission’s policy statements.1 See

18 U.S.C. § 3582(c)(1)(A)(i); see also United States v. Parada, 5:03-40053-JAR-1, 2020 WL

4589781 *6 (D. Kan. Aug. 10, 2020) (stating to the extent a defendant’s medical


1
 The court has no jurisdiction to grant defendant’s alternative request to serve the remainder of
his sentence in home confinement. Under the CARES Act, only the Bureau of Prisons has the
authority to order home confinement. See United States v. Nash, 2020 WL 1974305, at *3 (D. Kan.
Apr. 24, 2020) (“the CARES Act authorizes the BOP – not courts – to expand the use of home
confinement”); United States v. Boyles, 18-20092-JAR, 2020 WL 1819887 at *2 n.10 (D. Kan. Apr. 10,
2020) (explaining the difference between the CARES Act grant of authority to the BOP to lengthen
the duration of home confinement and the court’s jurisdiction to reduce a sentence under 18
U.S.C. § 3582(c)).


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circumstances meet the “extraordinary and compelling” standard, satisfaction of that

burden does not resolve the issue of entitlement to release because the court must still

consider the 3553(a) sentencing factors).

       The 3553(a) factors relevant to defendant’s request for compassionate release are

(1) his personal history and characteristics, (2) his sentence relative to the nature and

seriousness of his offenses; (3) the need for the sentence to provide just punishment,

promote respect for the law, reflect the seriousness of the offense, deter crime, and protect

the public; (4) the need for any rehabilitative services; (5) the applicable guideline

sentence; and (6) the need to avoid unwarranted sentencing disparities among similarly-

situated defendants. 18 U.S.C. § 3553(a)(1) – (6). The court’s review of those factors in

light of the offense of conviction, defendant’s admissions in the plea agreement and

presentence interview, and his immigration status leads it to conclude that

compassionate release is inappropriate.

       Although defendant pled guilty to possession of over 50 grams of

methamphetamine with an intent to distribute, the conduct behind the offense of

conviction involved his movement and attempted sale of a much larger amount of

methamphetamine. In addition, defendant admitted his active involvement in buying

and selling drugs beyond methamphetamine, telling the United States Probation Office

that “he bought and sold ‘everything.’” (PSIR, p.18). Defendant is aware that he has

remained in the country illegally, after overstaying a visitor’s visa, and it appears that he

has remained in the country illegally despite several prior contacts with ICE where he

was directed to return to Mexico. (PSIR, p. 20).

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       Defendant was sentenced to a term of 168 months, the low end of the applicable

guideline range. (PSIR, p. 23). That sentence was based upon the parties’ Plea Agreement

as well as the court’s consideration of the 3553(a) sentencing factors, and was appropriate

not only to provide just punishment for the offense, but to reflect the seriousness of that

offense and promote respect for the law. Defendant began serving his sentence on

October 3, 2016. With credit for time served his projected release date is September 3,

2028. (Dkt. 285-1, p. 6). As of July 27, 2020 defendant had served only 32 percent of his

statutory term. (Dkt. 285-1, p. 6). Considering the serious nature of defendant’s offense,

his open admission to his active involvement in illegal drug sales, and his disregard for

his immigration status, a reduction of his sentence to time served at this point would be

a significant windfall that is unwarranted by the circumstances.

       The court is unpersuaded by defendant’s argument that other immigrant

detainees have been released from a federal detention facility on their own recognizance

due to Covid-19 concerns. (Dkt. 285, p. 4). The case cited by defendant, Hope v. Doll, 2020

WL 5035724 at * 1 (M.D. Pa. April 7, 2020) involved a group of individuals under civil

detention pending final resolution of their immigration cases, not an individual serving

a lengthy prison sentence for a crime he admits was committed while he was in the

United States illegally.

       The court recognizes that defendant suffers from diabetes, hypertension, and

hyperlipidemia, serious medical conditions that may increase the chance of severe Covid-

19 complications. There is no indication in his motion or medical records, however, that

those conditions are not well-controlled and cannot adequately be treated within the BOP

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system, and no indication that defendant would receive better treatment or face less risk

of Covid-19 infection if he was immediately released from custody.2 This is particularly

true given the fact that defendant has failed to provide a detailed release plan. The plan

provided by defendant consists only of a name, address, and phone number of an

individual in Wichita. It does not address defendant’s ICE detainer, which may subject

defendant to immediate deportation. (PSR, p. 20). Nor does it address defendant’s access

to quality healthcare, substance abuse treatment, future employment, or any other type

of supervision to ensure defendant does not fall back into his previous criminal behavior.

“Shortening a defendant’s sentence where there is no adequate release plan offers no

benefit to the health of the inmate and the process likely further endangers the

community into which the defendant is released.” United States v. Allison, 2020 WL

3077150 at *4 (W.D. Wash. June 10, 2020).

       The court finds that defendant’s medical conditions, combined with the risk of

complication from Covid-19 infection, do not provide extraordinary and compelling

reasons for a reduction to a time-served sentence in light of the court’s consideration of

the 3553(a) sentencing factors. Even if defendant had not received a guideline sentence,

the statutory minimum sentence he could have received for the crime to which he pled

guilty was ten years. (PSR, p. 23). Defendant has served less than five years of his sentence




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  The United States’ Response notes the procedures BOP has implemented in order to mitigate
the risks of Covid-19 infection in BOP custody. Unfortunately, no set of circumstances will reduce
the risk of Covid-19 infection to zero in BOP facilities at this point in time. Nevertheless, the court
is confident that the procedures BOP has implemented are the best available to reduce the risk of
infection as much as possible while meeting BOP’s other mandates.

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to date. Releasing him to a time-served sentence would produce not only a below-

guidelines sentence, but also a below statutory minimum sentence that does not reflect

the seriousness of his criminal conduct, provide just punishment, discourage further

criminal conduct, protect the public from future offenses, or promote respect for the law.

      For those reasons, defendant’s request for compassionate release is DENIED.



      IT IS SO ORDERED this 11th day of January, 2021.

                                         /s/J. Thomas Marten
                                         THE HONORABLE J. THOMAS MARTEN
                                         UNITED STATES DISTRICT COURT




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